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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


                                          )               CHAPTER 7
IN RE:                                    )
                                          )               CASE NO. 21-55737-PWB
JAMES EARNEST NEWMAN, SR. a.k.a.          )
JAMES E. NEWMAN and                       )
MARY HAASE NEWMAN a.k.a.                  )
MARY H. NEWMAN,                           )
                                          )
       Debtors.                           )
                                          )
                                          )
S. GREGORY HAYS, as Chapter 7 Trustee for )
the Bankruptcy Estates of James Earnest   )
Newman, Sr. and Mary Haase Newman,        )
                                          )
       Movant,                            )
v.                                        )               CONTESTED MATTER
                                          )
UNITED COMMUNITY BANK, as successor )
by merger of SOUTHERN NATIONAL BANK, )
JPMORGAN CHASE BANK, N.A.,                )
COBB COUNTY TAX COMMISSIONER,             )
MAGNOLIA LANE CONDOMINIUM ASSN., )
JAMES EARNEST NEWMAN, SR. and             )
MARY HAASE NEWMAN,                        )
                                          )
       Respondents.                       )
                                          )

NOTICE OF TRUSTEE’S MOTION FOR AUTHORITY TO (A) SELL PROPERTY OF THE
    BANKRUPTCY ESTATE FREE AND CLEAR OF ALL LIENS, INTERESTS, AND
ENCUMBRANCES AND (B) DISBURSE CERTAIN PROCEEDS AT CLOSING; DEADLINE
                   TO OBJECT; AND FOR HEARING

        PLEASE TAKE NOTICE that on April 27, 2022, S. Gregory Hays, as Chapter 7 Trustee

(“Trustee”) for the bankruptcy estates (collectively, the “Bankruptcy Estate”) of James Earnest

Newman, Sr. a.k.a. James E. Newman and Mary Haase Newman a.k.a. Mary H. Newman

(“Debtors”), filed Trustee’s Motion for Authority to (A) Sell Property of the Bankruptcy Estate



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Free and Clear of Liens, Interests, and Encumbrances and (B) Disburse Certain Proceeds at

Closing [Doc. No. 30 ] (the “Sale Motion”) and related papers with the Court, seeking, among

other things, an order from the Court authorizing the sale of that certain real property known

generally as 3424 Double Eagle Drive, #30, Marietta, Cobb County, Georgia 30008 (the

“Property”), pursuant to 11 U.S.C. §§ 363(b), (f), and (m), and Fed. R. Bankr. P. 2002(a)(2),

6004(a), 6004(c), and 9014, to C1 Properties LLC (the “Purchaser”), “as is, where is,” for the

sale price of $318,700.00 (the “Purchase Price”), subject to bankruptcy court approval (the

“Contract”). A true and correct copy of the Contract is attached as Exhibit “A” to the Sale Motion,

and incorporated herein by reference.

        Trustee’s proposed Contract for a Purchase Price of $318,700.00 (a) is an all-cash offer;

(b) is the highest and best offer that Trustee has received; (c) exceeds the Listing Price by

$48,700.00; (d) is subject to no contingencies; and (e) represents an appropriate selling price for

the Property.

        Trustee moves for authority to have paid at closing those liens and costs set forth in the

Sale Motion. Although Trustee believes that the proposed sale is in the best interest of the

Bankruptcy Estate and its creditors, Trustee invites any and all competing cash offers to be

submitted so long as the cash bid exceed the present Contract by at least $7,000.00 and is

supported by earnest money of at least two (2%) percent of the bid price, with no

contingencies, and the ability to close within ten (10) days, so long as earnest money is paid to

the Trustee in good funds and any such bid is filed with the Court in the form of an objection to

the Sale Motion by the Objection Deadline (as defined below).

        Pursuant to Second Amended and Restated General Order No. 24-2018, the Court may

consider this matter without further notice or a hearing if no party in interest files a response or




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objection within twenty-one (21) days from the date of service of this notice (the “Objection

Deadline”). If you object to the relief requested in the Sale Motion, you must timely file your

objection with the Bankruptcy Clerk at: Bankruptcy Clerk, U.S. Bankruptcy Court, Suite 1340,

75 Ted Turner Drive, S.W., Atlanta, Georgia 30303, and serve a copy on the Trustee's attorney,

Michael J. Bargar, Arnall Golden Gregory LLP, 171 17th Street, NW, Suite 2100, Atlanta, Georgia

30363, and any other appropriate persons by the Objection Deadline. The response or objection must

explain your position and be actually received by the Bankruptcy Clerk within the required time.

        A hearing on the Sale Motion has been scheduled for June 9, 2022. The Court will hold an

initial telephonic hearing for announcements on the Sale Motion at the following number: 833-568-

8864 US Toll-free Meeting ID: 161 794 3084 at 10:00 a.m. in in Courtroom 1401, United States

Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia.

        Matters that need to be heard further by the Court may be heard by telephone, by video

conference, or in person, either on the date set forth above or on some other day, all as determined

by the Court in connection with this initial telephonic hearing. Please review the “Hearing

Information” tab on the judge’s webpage, which can be found under the “Dial-in and Virtual

Bankruptcy Hearing Information” link at the top of the webpage for this Court,

www.ganb.uscourts.gov for more information.

        If an objection or response is timely filed and served, the hearing will proceed as scheduled.

If you do not file a response or objection within the time permitted, the Court may grant the

relief requested without further notice or hearing provided that an order approving the relief

requested is entered at least one business day prior to the scheduled hearing. If no objection is timely

filed, but no order is entered granting the relief requested at least one business day prior to the hearing,

the hearing will be held at the time and place as scheduled.



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        Your rights may be affected. You should read these papers carefully and discuss them

with your attorney, if you have one in this bankruptcy case. If you do not have an attorney,

you may wish to consult one.

        Dated: April 27, 2022.
                                          ARNALL GOLDEN GREGORY LLP
                                          Attorneys for Trustee

                                          By:    /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                  Michael J. Bargar
Atlanta, GA 30363                                Georgia Bar No. 645709
404-873-7031                                     michael.bargar@agg.com




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